                         Case 2:14-cr-00133-WKW-TFM Document 75 Filed 11/17/14 Page 1 of 5


AO 24513         (Rev. 09 1 1 I) .Jud5nieiit in a Criminal Case
                 Sheet I



                                                   UNITED STATES DISTRICT COURT
                                                                  MIDDLE DISTRICT OF ALABAMA

                 UNITED STATIS OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE
                                          V.
                                                                                                 (WO)

                                ADAN PEREZ                                                      Case Number: 2:14cr133-0-WKW

                                                                                                LI SM Number: 15321-002

                                                                                                  Russell Turner Duraskt
                                                                                                I )eieiiIani , All ui-lies
THE DEFENDANT:
   plei-ided godly to count(s)                  I of the Indictment on 06/30/2014

E p1 ca tied 0010 C Ofl (Cii derc [0 count(s)
   which was accepted b the court.

E wa bond cuilty on c000t( s)
   a let a plea ob' tiut gui 1kv.

IThe defendant is adjudicated guilty of thesc officitscs:

Tide & Section                           Nature of OIknse                                                                    Offense Ended               Count

 18:1029(b)(2) and                         Conspiracy to Commit Fraud jr Connection                                           2120/2014                   1

    (c)( 1 )(A)(i)                                with Access Devices




   Sec i-idclitioni-il caitn[(s) ui -i pace 2


           ftc defendant is sciitenccd as provided                         LliruLlOh 5       a' this judgment. 1 he sentence is itil 'oec1 pursuant 10 (lie
Scill I cue i itg Re farm Act of' I 9X4,

E I luC i-Ic tendon I has been ['on ad not guilty on coon t(s)
   CoLmt(s) 2                                                         is     LJ are disrnised oil             motion of the United St ucs.

          It is ordered that the defendant mist notit [lie United States attorney for this district within 30 da y s of any change n fname. residence,
or niitig
    ail address until all fires. rcsituti
                                      lon, costs, and spcci il a ssessentsm
                                                                         m      iposed by this judgment a re tully paid. 1frdere d to pay restitution.
the defendant must notify he court and United States attorne y of material chan g e s in economic circumstances

                                                                                     11/13/2014
                                                                                     Dale of' tniposiltiii of ' iudmeiik




                                                                                     ,)1
                                                                                     S n ito i-c of ,Iud
                                                                                                                      &6

                                                                                    W. KEITH WATKINS, CHIEF U.S. DIETRICT JUDGE
                                                                                               v .lilctgc                              i ii Ic cliudee




                                                                                     Dcii-
                         Case 2:14-cr-00133-WKW-TFM Document 75 Filed 11/17/14 Page 2 of 5


At) 21513          (Rev 09 1 1 I) Judgrnenl in a Cr:nvnal Case
 I                 Shari 4—Priihatiou

                                                                                                                                 Judgment Page: 2 of 5
     DEFENDANT: ADAN PEREZ
     CASE NUMBER: 2:14cr133-02-WKW
                                                                       PROBATION
     The defendant is hereby sentenced to probation lr a term of

     3 Years




     The defendant shall not commit another federal state or local crime.
     The defendant shall not unlawfull y possess a controlled substance. The defendant shall refrain from an y un awful use of a controlled
     substance. The defendant shall submit to one drug lest oithin 15 da) s at' placement on probation and at lead two periodic drug tests
     thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant oses a low risk of
            future substance abuse. (Check, if applicable.)

            The defendant shall not possess a firearm. ammunition, destructive dcN ice, or any other dangerous we aon. (Check, if applicable)

            The defendant shall cooperate in the collection ol' DNA as directed b y the probation officer. (Check, i/a/il/cable)

     fl The defendant shall comply with the requii'ements ot the Sex offender Registration and Notification Ant (42 U.S.C. § 16901, c/seq.)
        as directed by the probation oltjccr. the Bureau of Prisons, or any stoic sex offender registration agcnc' in which he or she resides,
            works, is a student, or was convicted ofa qualilying ot fcnse. (Check, i/applicable.)

            The defendant shall participate in an approved program for domestic vIolence. (Check, if apphicahien

            Willis judgment imposes a line or restitution, it is a conditbn of probation that thedetbndant pay in tiacordancc with the Sthedulc of
     Payments sheet of this judgment.
               The defendant n-usi comply with the standard Londitlons that hie been adopted hythis court as well is with any addilionaleondi(ions
     on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION
       I)     the defendant shall not leave the judicial disu'ict \vithoLut the permission of the court or probation o fflcar;
       2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

       3)    the defendant shall answer truthfully all inquiries b y the probation officer and follow the instructions ii ' the probation officer;
       4)    the defendant shall support his or her dependents and mccl other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation ulhcer at least ten days prior to any change in residence or cii )lOVn)ent
       7)    the defendant shall retrain from exccssi c use of alcohol and shall iloL purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as Prescribed by a physician:
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used. distribute( or administered:
       9)    the defendant shall not associate with any persons cn"aged in criminal activity and shall not associate o'ith any person convicted of a
             felony, unless granted permission to do so by the proation ollicer:
      I()) the defendant shall permit a probation officer to visit him or her at an y time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation at!tccr;
     II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or qucstionci.l by a law ent'oreennt officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enfoi .:crnnt agency without the
             permission of the court; and
     13)     as directed by the probation othieer, the defendant shall notil third parties ofrisks that may he occasior sd by the def'endunt's criminal
             record or personal histor y or characteristics and shall peru it the probation officer to make such nnti fie;itions and to confirm the
             defendant s compliance with such notification remluircmcnt
                                                                  .
                 Case 2:14-cr-00133-WKW-TFM Document 75 Filed 11/17/14 Page 3 of 5


AO 24513     Rev (19/I 1 .Judgnierit in a Criminal Civic
             sheet 4C - Probation

                                                                                                          Judgment Page: 3 of 5
 DEFENDANT: ADAN PEREZ
 CASE NUMBER: 2:14cr133-02-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

  Defendant shall participate in a program approved by the United States Probation Office for subotance abuse, which will
  include testing to determine whether he has reverted to the use of drugs.

  Defendant shall participate in a program of drug testing administered by the United States Probation Office as directed.

  Defendant shall complete 40 hours of community service at a time and location approved by the United States Probation
  Office.

  Defendant shall provide the probation officer any requested financial information.

  Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

  Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the sea 2h policy of this court.
                    Case 2:14-cr-00133-WKW-TFM Document 75 Filed 11/17/14 Page 4 of 5


AO 24515      (Rev. 09/1 1) Judgment is a Crirniiial Cac
              Sheet 5 - Crimini Monetary Penalties

                                                                                                                          Judgment Page: 4 of 5
 DEFENDANT: ADAN PEREZ
 CASE NUMBER: 2:14cr133-02-WKW
                                                  CRIMINAL MONETARY PENALTIES
      The del'cnduni niusi pa y the total criminal nioiietar penal lies under the schedule of' payments on Slice 6.

                       Assessment                                            Fine                               Restilution
 TOTALS             $ 100.00                                             S                                   $ $54:5.00




 El The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (.40 245C) will be entered
    after such determination.

      The defondant must make restitution fincludim , commtinhly restitution) to the following payees in the a iounl listed below.

      lithe defendant makes a partial payment, each pa . ec shall receive an approximately proportioned paymi:nt. unless specified otherwise in
      the priority order or percentage payment column helow. I locver, pursuant to IX U.S.C. 3664(i), all ionlcdcral victims must he paid
      before the United States is paid.

 Name of1iee                                                          l'oIaILoss*                 Restitution Ordereill   PrioritvorPercentage

  Tractor Supply Stores                                                                                      $5,435.00

  ATTN: Justin Lakins

  200 Powell Place

  Brentwood, TN 37027




TOTALS                                                                                    $0.00              $5,435.0:



 E     Restitution amount ordered pursuant to plea agi'ecrnent $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or tine is paid in full before the
       III fteenth day afici' the date of - the judgment. pursuant La IX U.S.C. § 3612(1). All of the pay ment options n Sheet 6 may be subject
       to penalties for delinquency and dcl'oult, pursuant to 18 U.S.C. § 36 I2(g).

      The court determined that the defendant does not Ii L1VC the a H ill ty to pay interest and it is ordered that:

           the interest requirement is waived lor the          fl tine       51 re.stilution.
      Fj the interest requirement for the             E line     E restitution is modified as follows:



 Findings forr the total Dunt
                         ari of losses are required under Chai'ters 109A. 110, I IOA, and 113A of Title IX fbi Difenses committed on or after
September 13, 1994, but before April 23, 1996.
                     Case 2:14-cr-00133-WKW-TFM Document 75 Filed 11/17/14 Page 5 of 5


AO 2450        (Rev, 09' I I) Judgmeni in a Criminal Case
V1             Shcet 0— Schedule otPavnients

                                                                                                                                Judgment Page: 5 of 5
 DEFENDANT: ADAN PEREZ
 CASE NUMBER: 2:14cr133-02-WKW


                                                              SCHEDULE OF PAYMENTS

 I la y ing assessed the deI'eniiant's abilit y to pay. pa y ment of the total criminal monetary penalties is due as follows:

 A           Lump sum pavmenl of 5 5,535.00 -                        due immediately. balance due

                   not later than                                       , or
                   in accordance                  C:        El t),        1.. or           F below; or.

 B           Payment to begin immediately (may he combined with                    EJ C.           D, or   D F below); or

 C 7 Payment in equal                        (e.g, wee! /y, month/v, quarter/.0 installments of $                              over a period of
                   (e.g., months or years), to commence                        fe g., 30 or 60 days,) after the date of this judgment; or

 1)    F7 Pay ment in equal                             wev/ty, monthl y, quorIri) installments of $                      over a period of
                                months or years). to commence            - - - (e.g 30 or 60 c/ow) after release -Urn imprisonment to a
             term of supervision; or

 E     0 Payment during the term of supervised release v, ill commence within -                      (e.g 30 or 6 o'avs) atier release from
             imprisonment. The court will set the psiyiiieiil plait based on an assessment of the defendant's ahi ty to pay at that time; or

 F'          Special instructions regarding the Payment— oh' criminal monetary penalties:

             All criminal monetary payments are to be made to the Clerk, United States District Court, Middlc District of Alabama, Post
             Office Box 711, Montgomery, Alabama 36101. To the extent that other defendants are ordered in this ease or in any other
             ease to be responsible for some or all of the restitution amount owed to the victim, the victim is en tilled to only one recovery,
             from whomever received. In other words, the victim is not allowed to receive compensation in e.aess of its loss.
             Related eases/defendants: Daynel L. Valdcz 2:1 4cr 133-0 I -WKW

 Unless the court has expressl y ordered otherwise, if this judgmenL imposes imprisonment. paynnt ofcrin'inal monetar y penalties is due during
 imprisonment, All erininal monetary penalties. except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program. are made to the clerk or the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties mposed.




 fl    Joint and Several

       L)cfendant and Co-Defendant Names and Case Nunibcrs (including dc/eric/ant rnunher), Total Amount, Joint and Several Amount.
       and corresponding pay cc, if appropriate.




 El The defendant shall pay the cost of prosecution.

 El The defandant shall pay the following court cost(s):

 El    The defendant shall forfeit the defendant's interest in the following property to the United Stales:




 i 1 11y111ents shall he applied in the following order: ( I ) assessment, 2) rcs: itution principal. (3) restitution intei'e . t. (4) One principal -
 (5) lciie interest. (6) eomniunit y restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
